         Case:20-14963-JGR Doc#:9 Filed:07/23/20                                      Entered:07/23/20 11:20:09 Page1 of 2


Information to identify the case:
Debtor
               Armed Beavers LLC                                                           EIN:   27−0247683
               Name

United States Bankruptcy Court      District of Colorado                                    Date case filed for chapter:       11      7/22/20

Case number:20−14963−JGR
Official Form 309F2 (For Corporations or Partnerships under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   02/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       Armed Beavers LLC


  2. All other names used in the
     last 8 years

                                              697 N. Denver Avenue
  3. Address                                  Suite 128
                                              Loveland, CO 80537

  4. Debtor's attorney                        Gerald L. Jorgensen
       Name and address                       Jorgensen, Brownell & Pepin,                               Contact phone 303−678−0560
                                              900 S. Main St.
                                              Ste. 100                                                   Email: gerald@jbplegal.com
                                              Longmont, CO 80501

  5. Bankruptcy trustee                       John Smiley
                                                                                                         Contact phone 303−454−0540
      Name and address                        600 17th Street
                                              Suite 2800S                                                Email: jcsmiley@smileytrustee.com
                                              Denver, CO 80202

  6. Bankruptcy clerk's office                                                                            Hours open:
                                              US Bankruptcy Court                                         8:00am − 5:00pm Monday−Friday
       Documents in this case may be filed
      at this address.                        US Custom House
      You may inspect all records filed in    721 19th St.                                                Contact phone 720−904−7300
      this case at this office or online at   Denver, CO 80202−2508
      www.pacer.gov.                                                                                      Date: 7/23/20

                                                                                                           For more information, see page 2 >




Official Form 309F2 (For Corporations or Partnerships under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                         page 1
        Case:20-14963-JGR Doc#:9 Filed:07/23/20                                      Entered:07/23/20 11:20:09 Page2 of 2

Debtor Armed Beavers LLC                                                                                               Case number 20−14963−JGR


  7. Meeting of creditors                                                                                Location:
       The debtor's representative must   August 18, 2020 at 09:00 AM
      attend the meeting to be questioned                                                                Telephonic Meeting of Creditors,
      under oath.                         The meeting may be continued or adjourned to a later           Please call five minutes in advance,
      Creditors may attend, but are not   date. If so, the date will be on the court docket.             Conference Number − 888−497−4718,
      required to do so.                                                                                 Passcode − 6026644#

  8. Proof of claim deadline                 Deadline for filing proof of claim:
                                             For all creditors (except a governmental                     9/30/20
                                             unit):
                                             For a governmental unit:                                     1/19/21
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                             can explain. For example, a secured creditor who files a proof of claim may surrender important
                                             nonmonetary rights, including the right to a jury trial.


  9. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it
     deadline                                excepted from discharge, you must start a judicial
       The bankruptcy clerk's office must    proceeding by filing a complaint by the deadline stated
      receive a complaint and any            below.
      required filing fee by the following   Deadline for filing the complaint:                           10/19/20
      deadline.


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                             generally remain in possession of the property and may continue to operate the debtor's business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F2 (For Corporations or Partnerships under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                          page 2
